Case 1:21-cv-00691-GBW Document 624 Filed 05/22/24 Page 1 of 9 PageID #: 33463
Case 1:21-cv-00691-GBW Document 624 Filed 05/22/24 Page 2 of 9 PageID #: 33464
Case 1:21-cv-00691-GBW Document 624 Filed 05/22/24 Page 3 of 9 PageID #: 33465
Case 1:21-cv-00691-GBW Document 624 Filed 05/22/24 Page 4 of 9 PageID #: 33466
Case 1:21-cv-00691-GBW Document 624 Filed 05/22/24 Page 5 of 9 PageID #: 33467
Case 1:21-cv-00691-GBW Document 624 Filed 05/22/24 Page 6 of 9 PageID #: 33468
Case 1:21-cv-00691-GBW Document 624 Filed 05/22/24 Page 7 of 9 PageID #: 33469
Case 1:21-cv-00691-GBW Document 624 Filed 05/22/24 Page 8 of 9 PageID #: 33470
Case 1:21-cv-00691-GBW Document 624 Filed 05/22/24 Page 9 of 9 PageID #: 33471




                               CERTIFICATE OF SERVICE

        The undersigned counsel hereby certifies that true and correct copies of the foregoing

document were caused to be served on May 13, 2024 on the following counsel in the manner

indicated below.

                                        VIA EMAIL:

                                    Jack B. Blumenfeld
                                       Jeremy Tigan
                                      Cameron Clark
                       MORRIS, NICHOLS, ARSHT & TUNNELL LLP
                                 1201 North Market Street
                                  Wilmington, DE 19899
                             jblumenfeld@morrisnichols.com
                                jtigan@morrisnichols.com
                                cclark@morrisnichols.com

                                      F. Dominic Cerrito
                                         Eric C. Stops
                                       Evangeline Shih
                                      Andrew S. Chalson
                                        Gabriel P. Brier
                                       Frank C. Calvosa
                                      Catherine T. Mattes
                                        Abigail DeMasi
                    QUINN EMANUEL URQUHART & SULLIVAN, LLP
                               51 Madison Avenue, 22nd Floor
                                    New York, NY 10010
                              nickcerrito@quinnemanuel.com
                                ericstops@quinnemanuel.com
                           evangelineshih@quinnemanuel.com
                           andrewchalson@quinnemanuel.com
                              gabrielbrier@quinnemanuel.com
                             frankcalvosa@quinnemanuel.com
                           catherinemattes@quinnemanuel.com
                            Abigaildemasi@quinnemanuel.com

                                    Attorneys for Plaintiffs

 Dated: May 13, 2024                                   /s/ Daniel M. Silver
                                                       Daniel M. Silver (#4758)




ME1 48431672v.1
